               Case 20-51051-TMH         Doc 244     Filed 11/14/23     Page 1 of 2




                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF DELAWARE

In re:                               )
                                     )                       Chapter 11
RS FIT NW LLC,                       )
                                     )                       Case No. 20-11568 (TMH)
                     Debtor.         )
                                     )                       (Jointly Administered)
                                     )
                                     )
24 HOUR FITNESS WORLDWIDE, INC.,     )
                                     )
                     Plaintiff,      )
                                     )
           v.                        )
                                     )
CONTINENTAL CASUALTY COMPANY;        )                       Adv. Pro. No. 20-51051 (TMH)
ENDURANCE AMERICAN SPECIALTY         )
INSURANCE COMPANY; STARR SURPLUS     )
LINES INSURANCE COMPANY; ALLIANZ     )
GLOBAL RISKS US INSURANCE COMPANY; )
LIBERTY MUTUAL INSURANCE COMPANY; )
BEAZLEY-LLOYD’S SYNDICATES 2623/623; )
ALLIED WORLD NATIONAL ASSURANCE      )
COMPANY; QBE SPECIALTY INSURANCE     )
COMPANY; and GENERAL SECURITY        )
INDEMNITY COMPANY OF ARIZONA,        )
                                     )
                     Defendants.     )
                                     )


                                     NOTICE OF SERVICE

         PLEASE TAKE NOTICE that the undersigned hereby certifies that on the 10th day of

November, 2023, I electronically filed the following documents with Clerk of the Court using the

CM/ECF system that will send notifications of such filings to all counsel of record.

            Plaintiff 24 Hour Fitness Worldwide, Inc.’s Motion for Partial Summary
             Judgment and Proposed Order [D.I. 237]

            Plaintiff 24 Hour Fitness Worldwide, Inc.’s Brief in Support of Motion for Partial
             Summary Judgment [D.I. 238]



                                                                                        11/14/2023 2:33 PM
             Case 20-51051-TMH         Doc 244      Filed 11/14/23   Page 2 of 2




          Request for Judicial Notice in Support of Plaintiff’s Motion for Partial Summary
           Judgment [D.I. 240]

          Declaration of Dan Larson [D.I. 241], Declaration of Jeremy Gottlieb [D.I. 241-
           1], Declaration of Mercedes Carnethon [D.I. 241-2] and Declaration of David E.
           Weiss [D.I. 241-3] in Support of Plaintiff’s Motion for Partial Summary
           Judgment

          Appendix in Support of Motion for Partial Summary Judgment [D.I. 242]

The documents are available for viewing and downloading through CM/ECF system. In addition

to service on all parties by CM-ECF, the following person was served via email:

Garvan F. McDaniel
HOGAN McDANIEL
1311 Delaware Avenue
Wilmington, DE 19806
Telephone: (302) 656-7596
Facsimile: (302) 656-7599
gfmcdaniel@dkhogan.com


Dated: November 14, 2023                            Respectfully submitted,

                                                    REED SMITH LLP

                                                    /s/ Mark W. Eckard
                                                    Mark W. Eckard (No. 4542)
                                                    1201 North Market Street, Suite 1500
                                                    Wilmington, DE 19801
                                                    (302) 778-7500
                                                    (302) 778-7575 (Fax)
                                                    meckard@reedsmith.com

                                                    David E. Weiss (admitted pro hac vice)
                                                    T. Connor O’Carroll (admitted pro hac vice)
                                                    101 Second Street, Suite 1800
                                                    San Francisco, CA 94105-3659
                                                    (415) 543-8700
                                                    (415) 391-8269 (Fax)
                                                    dweiss@reedsmith.com
                                                    cocarroll@reedsmith.com

                                                    Counsel for Plaintiff 24 HOUR FITNESS
                                                    WORLDWIDE, INC.



                                              -2-
